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MACY MERRELL, individually and on behalf of all others similarly situated,                                  FLORIDA CRYSTALS CORPORATION and FANJUL CORPORATION,

                                                        Santa Cruz
                                                                                                                                                                 (     nown)
Ryan J. Clarkson, Bahar Sodaify, Benjamin J. Fuchs, Kiryl Karpiuk, Clarkson Law Firm, P.C., 22525 Pacific
Coast Highway, Malibu, CA 90265 Tel: (213) 788-4050

                                                    (Place an “X” in One Box Only)

                                                 (U.S. Government Not a Party)
                                                                                                            28 U.S.C. § 1332
                                                                                                                               Violations of CAFA; consumer protection/false advertising/unfair competition state-law based claims


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             03/05/2025                                                                                                        /s/ Benjamin J. Fuchs
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